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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   JENNY LISETTE FLORES; et al.,              Case No. CV 85-4544-DMG
12
            Plaintiffs,
13                                              ORDER EXTENDING RESPONSE DATES
                 v.                             FOR THE COURT’S JULY 24, 2015
14                                              ORDER TO SHOW CAUSE [178]

15   ERIC H. HOLDER, JR., Attorney General of
     the United States; et al.,
16
17          Defendants.

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            THIS CAUSE comes before the Court upon Defendants’ Ex Parte Application for
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 2   Extension of Response Dates for the Court’s July 24, 2015 Order to Show Cause.

 3          UPON CONSIDERATION of the Application, the Court hereby ORDERS as follows:
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            Defendants will file a response to the Court’s July 24, 2015 Order to Show Cause by no
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     later than August 6, 2015. Plaintiffs will file their reply, if any, by August 13, 2015. This Order
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 7   does not extend the 90-day implementation period in the Court’s July 24, 2015 Order. There

 8   shall be no further requests for continuance.
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            IT IS SO ORDERED.
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     DATED: July 31, 2015
12                                                   DOLLY M. GEE
13                                                   UNITED STATES DISTRICT JUDGE

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